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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )                   8:07CR71
       vs.                                       )
                                                 )                    ORDER
NOE HERNANDEZ-ROMERO and                         )
SAMUEL HERNANDEZ-MONTILL,                        )
                                                 )
                      Defendants.                )


        This matter is before the court on the motion of Noe Hernandez-Romero to continue the
trial currently set for June 19, 2007. For good cause shown, a continuance will be granted;
however, the court's calendar can only accommodate a continuance to June 26, 2007.

       IT IS ORDERED that the Motion to Continue Trial [92] is granted, as follows:

        1. The above-entitled case is scheduled for a jury trial before the Honorable Laurie
Smith Camp, District Court Judge, to begin Tuesday, June 26, 2007 at 9:00 a.m. in Courtroom
No. 2, Third Floor, Roman L. Hruska United States Courthouse, 111 South 18th Plaza, Omaha,
Nebraska; because this is a criminal case, defendant(s) must be present in person. Counsel
will receive more specific information regarding the order of trial from Judge Smith Camp’s staff.

        2. In accordance with 18 U.S.C. § 3161(h)(8)(A), I find that the ends of justice will be
served by granting such motion and outweigh the interests of the public and the defendant in a
speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time
between June 19, 2007 and June 26, 2007, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act, 18 U.S.C. § 3161 because
counsel require more time to effectively prepare the case, taking into account the exercise of
due diligence. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

        3. This order applies to defendants Noe Hernandez-Romero and Samuel Hernandez-
Montill.

       DATED June 5, 2007.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
